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8                          IN THE UNITED STATES DISTRICT COURT

9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
                                                ) Case No.: CR.S. 13-160 MCE
11   United States of America,                  )
                                                ) PROPOSED ORDER RE JAIL VISITATION
12                 Plaintiff,                   )
                                                ) Court: Hon. Morrison C. England
13        vs.                                   ) Time:     9:00 a.m.
      Sakhanskiy, et.al.                        )
14                                              )
                   Defendants.                  )
15                                              )
16

17         Larisa Sakhanskiy was remanded on Friday, September 11, 2015, after conviction

18   at trial.   Her 17 year old daughter, Angelina Sakhanskiy, attempted to visit her

19   several times over the weekend, accompanied by her Grandfather, Grigory Tarusov. The

     jail informed Ms. Sakhanskiy that she could only visit with her legal guardian.      Both
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     Ms. Sakhanskiy’s parents were remanded into custody.   Counsel was informed by the
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     Sacramento County Main Jail that Ms. Sakhanskiy would be permitted to visit her mother
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     with a signed court order.   Ms. Sakhanskiy hereby asks that this Court order the jail
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     to allow her daughter to visit her while she is in custody.
24
     Dated: September 15, 2015               Respectfully submitted,
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26
                                             __/s/ Shari Rusk___
                                             Shari Rusk
27
                                             Attorney for Defendant
                                             Larisa Sakhanskiy
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1                                               ORDER

2             It is hereby ordered that Angelina Sakhanskiy be permitted to visit her mother

3    Larisa Sakhanskiy at the Sacramento County jail, accompanied by her grandfather,

     Grigory Tarusov.
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              IT IS SO ORDERED.
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     Dated:     September 18, 2015
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